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 1                                           THE HONORABLE RICHARD A. JONES
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 6
                         UNITED STATES DISTRICT COURT
 7                      WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE
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 9
      UNITED STATES OF AMERICA,                   No. CR19-210 RAJ
10
                             Plaintiff,           ORDER GRANTING MOTION TO
11                                                CONTINUE TRIAL DATE AND
      v.                                          PRETRIAL MOTIONS DEADLINE
12   ALLAN B. THOMAS and
     JOANN THOMAS,
13
                             Defendants.
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15
            THE COURT, having considered the unopposed motion of Defendants
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     Allan B. Thomas and JoAnn Thomas to continue the trial date and pretrial motions
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     date, FINDS:
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            (a) taking into account the exercise of due diligence, a failure to grant a
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     continuance in this case would deny counsel for the Defendants the reasonable
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     time necessary for effective preparation due to counsel’s need for more time to
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     review the evidence, consider possible defenses, and gather evidence material to
22   the defense, as set forth in 18 U.S.C. §3161(h)(7)(B)(iv); and
23          (b) a failure to grant such a continuance in this proceeding could result in a
24   miscarriage of justice, as set forth in 18 U.S.C. ﬂ 3161(h)(7)(B)(i); and



     ORDER GRANTING MOTION TO                               LAW OFFICES OF JOHN HENRY BROWNE, P.S.
     CONTINUE TRIAL DATE AND                                                 800 NORTON BUILDING
                                                                              801 SECOND AVENUE
     PRETRIAL MOTIONS DEADLINE - 1                                       SEATTLE, WASHINGTON 98104
                                                                      (206) 388-0777 • FAX: (206) 388-0780
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 1          (c) the additional time requested is a reasonable period of delay to allow
 2   defense counsel adequate time to prepare for trial, to investigate the matter, to

 3   gather evidence material to the defense, and to consider possible defenses; and

 4          (d) the ends of justice will best be served by a continuance, and the ends of

 5   justice outweigh the best interests of the public and the Defendants in any speedier
     trial, as set forth in 18 U.S.C. §3161(h)(7)(A); and
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            (e) that the period of delay from the date of this order to the new trial date
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     is excludable time pursuant to 18 U.S.C. §§3161(h)(7)(A) and (h)(7)(B)(i) & (iv).
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            IT IS THEREFORE ORDERED that Defendants’ Unopposed Motion to
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     Continue Trial Date and Pretrial Motions Deadline (Dkt. #47) is GRANTED. The
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     trial date in this matter is continued from November 2, 2020, to April 26, 2021.
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            IT IS FURTHER ORDERED that all pretrial motions, including motions in
12
     limine, shall be filed no later than February 26, 2021, with responses due no later
13   than March 12, 2021, and replies (if any) due no later than March 19, 2021.
14          IT IS FURTHER ORDERED that the period of time from the date of this
15   order up to and including the new trial date of April 26, 2021 shall be excludable
16   time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(1)(D), (h)(7)(A) and

17   (h)(7)(B).

18          DATED this 19th day of October, 2020.

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20
                                                       A
                                                       The Honorable Richard A. Jones
21                                                     United States District Judge
22

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     ORDER GRANTING MOTION TO                               LAW OFFICES OF JOHN HENRY BROWNE, P.S.
     CONTINUE TRIAL DATE AND                                                800 NORTON BUILDING
                                                                             801 SECOND AVENUE
     PRETRIAL MOTIONS DEADLINE - 2                                      SEATTLE, WASHINGTON 98104
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